Case 4:1O-cV-02386 -Document 224 ` Filed in TXSD on 06/11/18 Page 1 01°3

U.S. Department of Justice

 

Environment and Natural Resources

 

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. Environmental Defense Section Telephone: (_202) 514-6390
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. Waslzington, DC 20044

June 08, 2018

By Federal Express
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David J. Brad].ey ` r.n gitgi`;_g?l¥§
Clerk of` the Court duly D '{as
United States District Court . ' ' " 7 7 2018
Southern District of` Texas ` al/l'd_/_ gram
United States Courthouse ` ey» C/erkofc
515 Rusk Avenue . °"

Houston, TX 77002
Ref ExxonMobil v. Um`ted States, Nos. 4: lO-cv-_023 86 & 4:11'-cv-018l4 (SiD. Tex.)

Dear Mr. Bradley:

Please find enclosed thumb drives containing the exhibits to the Defendant United States . _

of America’ s corrected filings concerning its Motion for Partial Sumrnary Judgment on Phase
Two Issues, which were electronically filed 1n the above-referenced pair of` cases on June 8,
2018. We are filing the thumb drives conventionally with permission of Judge Rosenthal’s
Chambers to avoid a rather substantial burden on the electronic filing system.

We have enclosed two thumb drives, one for each case. Pursuant to instructions from the
_Court, we will be providing courtesy copies to Lisa Eddins 1n Judge Rosenthal’s Chambers
separately.

Please do not hesitate to contact me at (202) 5 l4- 63 90 or Erica. zilioli@usdoj. gov with
any questions.

Best regards, W

Erica M, Zilioli
U.S. Department of Justice

' Environment & Natural Resources_Division
Environmental Def`ense Section

Case 4:1O-cV-O2386 Document 224 Filed in TXSD on 06/11/18 Page 2 of'3

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Case 4:1O-cV-O2386 Document 224 Filed in TXSD on 06/11/18 Page 3 of 3

UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF TEXAS

 

 

 

 

 

ExxonMobil §

v. § CASE NUMBER 4:10-cv-2386
United States § 411 1-CV-1 814
Thumb Drive Exhibits

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